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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     TECHSHOP, INC.,                                  Case No. 18-cv-01044-HSG
                                   8                  Plaintiff,                          FINAL JUDGMENT
                                   9            v.

                                  10     DAN RASURE, et al.,
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13         In accordance with the jury’s verdict in this matter, as rendered on June 12, 2019, IT IS

                                  14   HEREBY ORDERED THAT Final Judgment be entered in favor of Plaintiff TechShop, Inc., and

                                  15   against Defendants and Counter-Claimants Dan Rasure, TechShop 2.0 LLC, and TechShop 2.0

                                  16   San Francisco LLC.

                                  17         IT IS SO ORDERED.

                                  18   Dated: 6/26/2019

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                                                                                      HAYWOOD S. GILLIAM, JR.
                                  20                                                  United States District Judge
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